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U.S. DISTRICT COURT
EASTERN DISTRICT ARKANSAS

FILED

IN THE UNITED STATES DISTRICT COURT

 

EASTERN DISTRICT OF ARKANSAS AUG 25 2021
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UNITED STATES OF AMERICA )
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" ) No. 4:17CR00293-49 BSM
)
CHRISTOPHER BUBER )
PLEA AGREEMENT

The Acting United States Attorney for the Eastern District of Arkansas, Jonathan D. Ross,

by and through Liza Jane Brown and Stephanie Mazzanti, Assistant United States Attorneys, and

Christopher Buber, the defendant, represented by the undersigned counsel, hereby agree to the

following terms and conditions in connection with the above-referenced proceedings.

1. GUILTY PLEAS: The defendant will enter pleas of guilty to the Violent Crimes

in Aid of Racketeering of Kidnapping, Maiming, and Assault with a Dangerous Weapon, in

violation of Title 18, United States Code, Sections 1959(a)(1), (a)(2) and (a)(3), as set forth in

Counts Six, Seven, Eight, and Nine of the Second Superseding Indictment. The United States

agrees to move for dismissal of the remaining counts and indictments against the defendant in this

matter upon acceptance of the guilty pleas. This is a Federal Rule of Criminal Procedure

11(c)(1)(C) plea agreement.

2. ELEMENTS OF THE CRIMES: The parties agree the elements of the offenses

to which the defendant will plead guilty are:

Counts 6, 7, 8, and 9 - Violent Crime in Aid of Racketeering, to wit: Kidnapping, Maiming, and
Assault with a Dangerous Weapon:

To establish a violation of 18 U.S.C. § 1959, the government must establish each of the

following elements beyond a reasonable doubt:
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One: On or about the date charged in the relevant count, the New Aryan Empire
(NAE) existed as an enterprise;

Two: The charged enterprise engaged in, or its activities affected, interstate or
foreign commerce;

Three: The enterprise engaged in racketeering activity;

Four: The defendant committed, or aided and abetted, the charged crime of
violence; and

Five: The defendant’s purpose in committing, or aiding and abetting the
commission of, the charged crime of violence was to gain entrance to, or
maintain or increase position in, the enterprise. ,

The defendant agrees that he is guilty of the offenses charged and that each of these
elements is true.

3. PENALTIES:

A. STATUTORY PENALTIES:

The penalty for the charges set forth in Counts 6 and 9 is any term of years or life
imprisonment; a fine of not more than $250,000; not more than 5 years supervised release; and a
$100 special assessment.

The penalty for the charge set forth in Count 7 is not more than twenty years imprisonment;
a fine of not more than $250,000; not more than 3 years supervised release; and a $100 special
assessment.

The penalty for the charge set forth in Count 8 is not more than 30 years imprisonment; a
fine of not more than $250,000; not more than 5 years supervised release; and a $100 special
assessment.

B. SUPERVISED RELEASE: Supervised release is a period of time

following imprisonment during which the defendant will be subject to various restrictions and

requirements. The defendant understands that if the defendant violates one or more of the
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conditions of any supervised release imposed, the defendant may be returned to prison for all or
part of the term of supervised release, which could result in the defendant serving a total term of
imprisonment greater than the statutory maximum in Counts 7 and 8.

4, WAIVERS: The defendant acknowledges that he has been advised of and fully
understands the nature of the charges to which the plea is offered, the mandatory minimum penalty
provided by law, if any, and the maximum possible penalty provided by law. The defendant further
understands that by entering into this Agreement and Addendum, he is waiving certain
constitutional rights, including, without limitation, the following:

A. The right to appeal or collaterally attack, to the full extent of the law, all
non-jurisdictional issues, including any forfeiture or restitution order, as follows:

(1) the defendant waives the right to appeal all non-jurisdictional issues
including, but not limited to, any issues relating to pre-trial motions, hearings and discovery and
any issues relating to the negotiation, taking or acceptance of the guilty pleas or the factual basis
for the pleas, including the sentence imposed or any issues that relate to the establishment of the
Guideline range, except that the defendant reserves the right to appeal claims of prosecutorial
misconduct;

(2) the defendant expressly acknowledges and agrees that the United
States reserves its right to appeal the defendant’s sentence under Title 18, United States Code,
Section 3742(b), and United States v. Booker, 543 U.S. 220 (2005);

(3) the defendant waives all rights to collaterally attack the conviction
and sentence in any post-conviction proceeding, including one pursuant to Title 28, United States
Code, Section 2255, except for claims based on ineffective assistance of counsel or prosecutorial

misconduct;
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(4) the defendant waives the right to have the sentence modified
pursuant to Title 18, United States Code, Section 3582(c)(2);

(5) the defendant waives the right to appeal the Court’s determination
of the amount of restitution and subsequent restitution order, if any; and,

(6) the defendant waives the right to appeal the Court’s determination
of any forfeiture issues and subsequent forfeiture order, if any.

B. The right to plead not guilty or to persist in that plea if it has already been
made, and the right to a speedy and public trial before a jury;

C. The right to be presumed innocent and to have the burden of proof placed
on the United States to establish guilt beyond a reasonable doubt;

D. The right to confront and cross examine witnesses;

E. The right to testify in his own behalf if the defendant so chooses, or, the
right to remain silent and not be compelled to testify, and to have that choice not used against the
defendant;

F, The right to call witnesses and to require those witnesses to appear by
issuing subpoenas.

G. Pursuant to Federal Rule of Criminal Procedure 11(b)(1)(O), the defendant
understands that upon conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the United States in the future.

5. STIPULATIONS: The United States and the defendant stipulate to the
following:

A. The parties agree that the base offense level for the offense of conviction

in Count 6 of the Second Superseding Indictment is 32 pursuant to U.S.S.G. § 2A4.1. The
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defendant will receive a 4-level increase pursuant to U.S.S.G. § 2A4.1(b)(2)(A) because the victim
sustained permanent bodily injury; and a 2-level increase pursuant to § 2A4.1(b)(3) because a
dangerous weapon was used.

B. The parties agree that the base offense level for the offense of conviction in
Counts 7 and 8 of the Second Superseding Indictment is 14 pursuant to U.S.S.G. § 2A2.2. The
defendant will receive a 2-level increase pursuant to U.S.S.G. § 2A2.2(b)(1) because the assault
involved more than minimal planning. The defendant will receive a 4-level increase pursuant to
U.S.S.G. § 2A2.2(b)(2) because a dangerous weapon was used. The defendant will receive a 7-
level increase pursuant to U.S.S.G. § 2A2.2(b)(3)(C) because the victim sustained permanent
bodily injury. The defendant will receive a 2-level increase pursuant to U.S.S.G. § 3A1.3 because
the victim was physically restrained.

C, The parties agree that the base offense level for the offense of conviction in
Count 9 of the Second Superseding Indictment is 32 under U.S.S.G. § 2A4.1.

D. The parties agree and stipulate that the defendant will receive a two-level
increase in the total offense level for Counts 6, 7, 8, and 9 for obstructing or impeding the
administration of justice, pursuant to U.S.S.G. § 3C1.1.

E, The parties agree that the total offense level for all offenses could increase
as a result of the application of the grouping and multi-count adjustment rules set forth in U.S.S.G.
§§ 3D1.1-3D1.4.

F, The parties agree and stipulate that, pursuant to Section 3E1.1 of the
Sentencing Guidelines, the defendant is eligible for a two (2) level reduction for acceptance of
responsibility, unless the defendant takes any action between the entry of the guilty plea and the

imposition of sentence that is inconsistent with acceptance of responsibility. If the offense level
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is 16 or greater, the determination of whether the defendant is eligible for a third level reduction
for acceptance of responsibility will be made by the United States at the time of sentencing.

G. The United States agrees that it will recommend to the Court that the
sentence in this case run concurrently to the sentence for kidnapping and intimidating a witness in
Pope County, Arkansas, Circuit Court Case Number 58CR-17-507.

H. The defendant retains the right to request an adjustment pursuant to
U.S.S.G. § 5G1.3 if the Bureau of Prisons will not credit the period of imprisonment already
served.

I. The parties agree that no other enhancements or reductions under Chapters
2, 3, or 5 of the Guidelines apply, other than those specifically set out in this agreement and its
addendum.

whe The defendant specifically waives any and all challenges to the searches,
seizures, arrests, statements, and forfeitures that have taken place as of the date of the execution
of this plea agreement by the defendant in this investigation by any entity, and in any forum where
the offense may be pursued and/or forfeiture may be sought. The defendant will assist in
executing any requested waiver of challenge and relinquishment of rights to any and all assets that
have been seized to date in this investigation by any participating agency or department, in any
forum where the forfeiture may be sought.

K. The parties stipulate and agree to recommend imposition of a sentence
within the range of 220 to 327 months’ imprisonment, understanding that the Court has the
discretion to sentence the defendant to anywhere within this range, pursuant to Federal Rule of
Criminal Procedure 11(c)(1)(C). The defendant understands that the United States intends to argue

for a sentence of 327 months’ imprisonment.
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6. RULE 11 RECOMMENDATION: The defendant acknowledges that this plea
agreement is governed by Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure and that
the parties are recommending that the Court sentence the defendant to a term of imprisonment
within the range of 220 to 327 months’ imprisonment, understanding that the Court has the
discretion to sentence the defendant to anywhere within this range. The defendant understands that
the Court has discretion not to accept the stipulations and not to accept the defendant's plea under
these terms. Under this Rule, if the Court accepts the plea, the Court is bound by the parties’
recommendation for sentence. The defendant further understands that this plea agreement is
governed by Fed. R. Crim. P. 11(c)(1)(C) and that, pursuant to Fed. R. Crim. P. 11(c)(5), if the
Court rejects the plea agreement, the Court will advise the defendant personally in open court that
the Court is not bound by the plea agreement, afford the defendant the opportunity to then
withdraw the plea, and advise the defendant that if the defendant persists in a guilty plea that the
disposition of the case may be less favorable to the defendant than that contemplated by the plea
agreement.

7. ALLOCUTION: The United States reserves the right to bring any and all facts
which it believes are appropriate to the attention of the Court.

8. COOPERATION IN THE SENTENCING PROCESS:

A. The defendant agrees to truthfully provide all information to the Probation
Office as is needed for preparation of the Presentence Report, including, but not limited to, criminal
history information. The defendant shall voluntarily provide a complete and truthful written
accounting of the defendant's criminal history to the Probation Office.

B. The defendant agrees to execute all waivers necessary for the preparation

of the Presentence Report.
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C. The defendant understands and acknowledges that the defendant's
obligation of disclosure regarding criminal history is not limited to arrests and convictions reported
in computer databases, but requires the defendant to disclose all arrests and/or convictions,
including any juvenile matters, regardless of whether the defendant believes the arrest/conviction
counts under the Sentencing Guidelines.

D, The defendant is required to comply with these obligations no later than the
expiration of the date on which objections to the Presentence Report are due.

9. FINANCIAL MATTERS:

 

A. FINANCIAL STATEMENT: The defendant agrees to fully and truthfully
complete a Financial Statement provided by the United States Probation Office.

B. FINES: The defendant understands that unless the Court determines that
the defendant is financially unable to pay a fine, the Court must impose a fine pursuant to the
Sentencing Reform Act of 1984.

C. SPECIAL PENALTY ASSESSMENT: The defendant agrees to pay to the
United States a special assessment of $100.00 per count, as required by Title 18, United States
Code, Section 3013. This special assessment is to be paid by bank cashier's check or money order
as directed by the Court. Cashier's checks or money orders should be made payable to "Clerk,
United States District Court."

D. RESTITUTION: The parties also state that restitution is applicable, and
the amount will be litigated at sentencing.

10. DOUBLE JEOPARDY AND SUCCESSIVE PROSECUTION: The United
States Attorney for the Eastern District of Arkansas will bring no further charges against the

defendant for any acts or conduct arising out of the defendant’s conduct described in the agreed-
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to factual basis as set forth in Attachment A of this Agreement, unless the defendant breaches this
Agreement and Addendum.

11. RECORDS: The defendant hereby waives all rights, whether asserted directly or
by a representative, to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case, including without limitation any
records that may be sought under the Freedom of Information Act, 5 U.S.C. Section 552, or the
Privacy Act of 1974, 5 U.S.C. Section 552a.

12. CIVIL CLAIMS BY THE GOVERNMENT: Except to the extent otherwise
expressly specified herein, this Agreement and Addendum do not bar or compromise any civil or
administrative claim pending or that may be made against the defendant, including, but not limited
to, tax matters.

13. EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT AND
ADDENDUM:

A. Defendant acknowledges and understands that if the defendant violates any
term of this Agreement and Addendum, engages in any further criminal activity prior to
sentencing, or fails to appear for any subsequent proceeding including sentencing, the United
States shall have, in addition to all other rights and remedies otherwise available, the right to:

(1) terminate this Agreement and Addendum; or
(2) proceed with this Agreement and Addendum and
(a) deny any and all benefits to which the defendant would
otherwise be entitled under the terms of this Agreement and Addendum; and/or
(b) advocate for any sentencing enhancement that may be

appropriate.
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B. In the event the United States elects to terminate this Agreement and
Addendum, the United States shall be released from any and all obligations hereunder. The
defendant acknowledges and understands that the agreement of the United States to disiaiss any
charge is conditioned upon final resolution of this matter. If this Agreement and Addendum is
terminated or if any of the defendant's conviction(s) ultimately are overturned, then the United
States retains the right to reinstate any and all dismissed charges and to file any and all charges
which were not filed because of this Agreement and Addendum.

C. The defendant hereby knowingly and voluntarily waives any defense based
upon the applicable statute of limitations and/or the Speedy Trial Act, for any charges reinstated
or otherwise filed against the defendant as a result of defendant's breach of this Agreement and
Addendum, so long as the United States initiates any otherwise time barred action within one year
of termination or revocation of this Agreement and Addendum.

D. | In the event that the Agreement and Addendum is terminated or if the
defendant successfully moves to withdraw his pleas, any statement made by the defendant in
negotiation of, or in reliance on this Agreement and Addendum, including this Agreement, the
stipulations in paragraph 5 of this Agreement, and the plea colloquy, but excepting statements
made pursuant to any proffer agreement entered into between the parties:

(1) may be used in the United States’ case in chief and to cross examine
the defendant should he testify in any subsequent proceeding; and/or

(2) any leads derived therefrom may be used by the United States.
The defendant waives any and all rights to the contrary and shall assert no claim under the United
States Constitution, any statute, or any rule of procedure or evidence to the contrary, including

Federal Rule of Evidence 410 and Federal Rule of Criminal Procedure 11(f). The defendant has
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been advised of his rights pursuant to Federal Rule of Evidence 410 and Federal Rule of Criminal
Procedure 11(f) and waives these rights.

14. PARTIES: This Agreement and Addendum is binding only upon the United
States Attorney's Office for the Eastern District of Arkansas and the defendant. It does not bind
any United States Attorney outside the Eastern District of Arkansas, nor does it bind any other
federal, state or local prosecuting, administrative, or regulatory authority.

15. MISCELLANEOUS:

A. MODIFICATION: No term or provision contained herein may be
modified, amended or waived except by express written agreement signed by the party to be bound
thereby.

B. HEADINGS AND CAPTIONS: Subject headings and captions are
included herein for convenience purposes only and shall not affect the interpretation of this
Agreement and Addendum.

C. WAIVER: No waiver of a breach of any term or provision of this
Agreement and Addendum shall operate or be construed as a waiver of any subsequent breach or
limit or restrict any other right or remedy otherwise available. Any waiver must be expressly
stated in writing signed by the party to be bound thereby.

D. RIGHTS AND REMEDIES CUMULATIVE: The rights and remedies of
the United States expressed herein upon any breach hereunder by the defendant are cumulative
and not exclusive of any rights and remedies otherwise available to the United States in the event
of any breach of this Agreement and Addendum by the defendant.

E. JOINT NEGOTIATION: This Agreement and Addendum has been

mutually negotiated by the parties hereto, and any uncertainty or ambiguity existing herein shall
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not be interpreted against any party by reason of its drafting of this Agreement and Addendum,
but instead shall be interpreted according to the application of the general rules of interpretation
for arms length agreements.

16. NO OTHER TERMS: This document and the Addendum completely reflect all
promises, agreements and conditions made between the parties, constitute the entire agreement
between the parties, and supersedes any and all prior agreements or understandings between the
parties, oral or written, with respect to the subject matter hereof.

17. APPROVALS AND SIGNATURES:

A. DEFENDANT: The defendant has read this Agreement and Addendum
and carefully reviewed every part of it with his attorney. The defendant understands and
voluntarily agrees to the terms and condition of this Agreement and Addendum. Further, the
defendant has consulted with his attorney and fully understands his rights with respect to the
provisions of the United States Sentencing Guidelines which may apply to this case. No other
promises or inducements have been made to the defendant, other than those expressly contained
in this Agreement and Addendum. In addition, no one has threatened or forced the defendant in
any way to enter into this Agreement and Addendum. The defendant further acknowledges that
the defendant has entered into this Agreement and Addendum, consciously and deliberately, by
the defendant's free choice, and without duress, undue influence, or otherwise being forced or
compelled to do so, and this Agreement and Addendum constitutes the legal, valid and binding
obligation of the defendant, fully enforceable against the defendant in accordance with its terms.
Finally, the defendant is satisfied with the representation of his attorney in this case.

B. DEFENSE COUNSEL: Defense counsel acknowledges that she is the

attorney for the defendant, and that she has fully and carefully discussed every part of this
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Agreement and Addendum with the defendant. Further, defense counsel has fully and carefully
advised the defendant of the defendant's rights, of possible defenses, and of the consequences of
entering into this Agreement and Addendum, including the possible consequences of not
complying with this Agreement and Addendum. ie counsel's knowledge, the defendant's

decision to enter into this Agreement and Addendum is an informed and voluntary decision.

AN
DATED this 05” day of August , 2021.

JONATHAN D. ROSS
Acting United States Attorney

 

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